                                                                                    Case 3:22-cv-00005-RS Document 27 Filed 09/14/22 Page 1 of 2


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                                                                          5   FAX: (510) 465-7023
                                                                          6   Attorneys for Plaintiff
                                                                              JOHN CHAMBERLIN
                                                                          7
                                                                          8                                   UNITED STATES DISTRICT COURT
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                                                                                                          NORTHERN DISTRICT OF CALIFORNIA
                                                                         10
                                                                         11   JOHN CHAMBERLIN,                                )   CASE NO. 3:22-cv-00005-LB
                                                                                                                              )   Complaint Filed: 01/03/2022
HILDEBRAND, MCLEOD & NELSON, LLP




                                                                         12                      Plaintiff,                   )   Trial Date: Not Set
                                   350 FRANK H. OGAWA PLAZA, 4TH FLOOR




                                                                                                                              )
                                                                         13   vs.                                             )    STIPULATED REQUEST TO DISMISS
                                         TELEPHONE: (510) 451-6732
                                         OAKLAND, CA 94612-2006

                                          FACSIMILE: (510) 465-7023




                                                                                                                              )    ACTION WITH PREJUDICE;
                                                                         14   BNSF RAILWAY COMPANY,                           )    [PROPOSED] ORDER
                                                                                                                              )
                                                                         15                      Defendant.                   )
                                                                                                                              )
                                                                         16                                                   )
                                                                                                                              )
                                                                         17                                                   )

                                                                         18            TO THIS HONORABLE COURT:

                                                                         19            PURSUANT TO FRCP 41(a)(1)(A)(ii), it is hereby stipulated and requested by and

                                                                         20   between the parties herein, that the above-entitled matter be dismissed with prejudice in its

                                                                         21   entirety and that each party bear their own costs and attorney’s fees.

                                                                         22          The parties attest that concurrence in the filing of the foregoing document was obtained

                                                                         23   from each of the signatories below.

                                                                         24
                                                                              Dated: September 14, 2022                     HILDEBRAND, MCLEOD & NELSON, LLP
                                                                         25
                                                                         26
                                                                                                                                    By:    /s/ Paula Rasmussen
                                                                         27                                                                PAULA A. RASMUSSEN, ESQ.
                                                                                                                                           Counsel for Plaintiff
                                                                         28                                                                JOHN CHAMBERLIN


                                                                                                                         1
                                                                                                        STIPULATED DISMISSAL WITH PREJUDICE
                                                                                Case 3:22-cv-00005-RS Document 27 Filed 09/14/22 Page 2 of 2


                                                                          1   Dated: September 14, 2022                  FLESHER, SCHAFF & SCHROEDER, INC.
                                                                          2
                                                                                                                                By:     /s/ Jason W. Schaff
                                                                          3                                                     JASON W. SCHAFF
                                                                                                                                Attorneys for Defendant
                                                                          4                                                     BNSF RAILWAY COMPANY
                                                                          5
                                                                          6
                                                                          7
                                                                          8                                        [PROPOSED] ORDER
                                                                          9
                                                                                     The above-entitled action is hereby dismissed with prejudice. All pending matters are
                                                                         10
                                                                              vacated and the Clerk shall close this file. IT IS SO ORDERED.
                                                                         11
HILDEBRAND, MCLEOD & NELSON, LLP




                                                                         12
                                   350 FRANK H. OGAWA PLAZA, 4TH FLOOR




                                                                         13   DATED: September            , 2022
                                         TELEPHONE: (510) 451-6732
                                         OAKLAND, CA 94612-2006

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                                                                                                                                       Richard Seeborg
                                                                         14                                                            United States District Judge

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                                                                                                    STIPULATED DISMISSAL WITH PREJUDICE
